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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 In Re:

                                                      Case No. 1:22-bk-05009

JENNY A. LOOZE                                        Chapter 13

                                                      Honorable Janet S. Baer

                                   Debtor(s)

To:       Jenny A. Looze, 310 N Washington St, Carpentersville, IL 60110-1838 (Via U.S. Mail)

          Glenn B. Stearns, 801 Warrenville Rd, Suite 650, Lisle, IL 60532-4350 (Via ECF)

       PLEASE TAKE NOTICE that on August 5, 2022, at 9:30 AM, I will appear before the
Honorable Janet S. Baer, or any Judge sitting in that Judge’s place, and present DEBTOR'S
ATTORNEY’S AMENDED APPLICATION FOR CHAPTER 13 COMPENSATION
UNDER THE COURT-APPROVED RETENTION AGREEMENT, a copy of which is
attached.

       This motion will be presented and heard electronically using Zoom for Government.
No personal appearance in court is necessary or permitted. To appear and be heard on the motion,
you must do the following:

       To appear by video, use this link: https://www.zoomgov.com/. Then enter the meeting
ID and password.

      To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-
7666. Then enter the meeting ID and password.

        Meeting ID and password. The meeting ID for this hearing is 160 731 2971 and the
password is 587656. The meeting ID and password can also be found on the judge's page on the
court's web site.

        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the Motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without a hearing.

                                                  /s/ Joseph S. Davidson

                                                  Joseph P. Doyle
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                                                  Joseph S. Davidson
                                                  LAW OFFICES OF JOSEPH P. DOYLE LLC
                                                  105 S Roselle Rd, Suite 203
                                                  Schaumburg, IL 60193
                                                  +1 847-985-1100
                                                  joe@fightbills.com
                                                  jdavidson@fightbills.com

                                CERTIFICATE OF SERVICE

        I, Joseph S. Davidson, certify that I caused a copy of this notice and Application to be
served, via electronic case filing Glenn B. Stearns, Chapter 13 Trustee and via United States First
Class Mail® to Jenny A. Looze on July 21, 2022 before the hour of 5:00 p.m. from the office
located at 105 South Roselle Road, Suite 203, Schaumburg, Illinois 60193.

                                                  /s/ Joseph S. Davidson
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                          UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 In Re:

                                                        Case No. 1:22-bk-05009

JENNY A. LOOZE                                          Chapter 13

                                                        Honorable Janet S. Baer

                                    Debtor(s)

        ATTORNEY’S AMENDED APPLICATION FOR CHAPTER 13
  COMPENSATION UNDER THE COURT-APPROVED RETENTION AGREEMENT

       The undersigned attorney seeks compensation pursuant to 11 U.S.C. § 330(a)(4)(B) and
the Court-Approved Retention Agreement executed by the debtor(s) and the attorney, for
representing the interests of the debtor(s) in this case.

          Use of Court-Approved Retention Agreement:

          The attorney and the debtor(s) have entered into the Court-Approved Retention Agreement.

          Attorney Certification:

          The attorney hereby certifies that:

          1.     All disclosures required by Local Rule 2016-1 have been made.

          2.     The attorney and the debtor(s) have either:

                 i.      Not entered into any other agreements that provide for the attorney to
                         receive:

                         a.    Any kind of compensation, reimbursement, or other payment, or

                         b.    Any form of, or security for, compensation, reimbursement, or other
                               payment that varies from the Court-Approved Retention Agreement;
                               or

                 ii.     Have specifically discussed and understand that:
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                    a.      The Bankruptcy Code may require a debtor’s attorney to provide the
                            debtor with certain documents and agreements at the start of the
                            representation;

                    b.      The terms of the Court-Approved Retention Agreement take the
                            place of any conflicting provision in an earlier agreement;

                    c.      The Court-Approved Retention Agreement cannot be modified in
                            any way by other agreements; and

                    d.      Any provision of another agreement between the debtor and the
                            attorney that conflicts with the Court-Approved Retention
                            Agreement is void.

     Compensation sought for services in this case pursuant to the Court-Approved
     Retention Agreement:

     $4,000.00 flat fee for services through case closing.

     Reimbursement sought for expenses in this case:

     $0.00 for filing fee paid by the attorney with the attorney’s funds

     $0.00 for other expenses incurred in connection with the case and paid by the attorney with
     the attorney’s funds (itemization must be attached)

     $0.00 Total reimbursement requested for expenses.

     Funds previously paid to the attorney by or on behalf of the debtor(s) in the year
     before filing this case and not reflected in or related to the Court-Approved Retention
     Agreement.

     ■      None

            A total of $0.00.

DATED: July 21, 2022                            Respectfully submitted,

                                                LAW OFFICES OF JOSEPH P. DOYLE
                                                LLC

                                                By: /s/ Joseph S. Davidson

                                                Joseph P. Doyle
                                                Joseph S. Davidson
                                                LAW OFFICES OF JOSEPH P. DOYLE LLC
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